 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


 HERMÈS INTERNATIONAL and                     No. 22-cv-00384-AJN-GWG
 HERMÈS OF PARIS, INC.,
                                              ECF Case
                   Plaintiffs,

                      v.

 MASON ROTHSCHILD,

                   Defendant.



MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT MASON ROTHSCHILD’S
             MOTION TO DISMISS THE COMPLAINT




February 9, 2022                 Rebecca Tushnet
                                 Rhett O. Millsaps II
                                 Christopher J. Sprigman
                                 LEX LUMINA PLLC
                                 745 Fifth Avenue, Suite 500
                                 New York, NY 10151
                                 Tel: (646) 898-2055
                                 Email: rhett@lex-lumina.com

                                 Attorneys for Defendant Mason Rothschild
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       Defendant Mason Rothschild submits this memorandum in support of his motion to

dismiss the complaint of Plaintiffs Hermès International and Hermès of Paris, Inc. (“Hermès”) in

its entirety for failure to state a claim pursuant to Federal Rule of Civil Procedure 12(b)(6).

                                PRELIMINARY STATEMENT

       Mason Rothschild is an artist who has created a series of digital artworks that depict and

comment on Hermès’ “Birkin” handbags. Each of the 100 works in Rothschild’s “MetaBirkins”

series is a unique, fanciful interpretation of a Birkin bag. Rothschild’s art is made with pixels,

but the bags are depicted as fur covered. This aspect of Rothschild’s MetaBirkins art comments

on the animal cruelty inherent in Hermès’ manufacture of its ultra-expensive leather handbags.

These images, and the NFTs that authenticate them, are not handbags; they carry nothing but

meaning. Hermès asks this Court to suppress Rothschild’s art and to restrain his protected speech

in the service of protecting Hermès’ commercial interest in its trademarks.

       Hermès’ claims should be dismissed as a matter of law. Under well-settled Second

Circuit precedent, now followed by many other circuits, Rothschild has every right to make and

sell art that depicts branded products. See Rogers v. Grimaldi, 875 F.2d 994 (2d Cir. 1989). That

same law gives Rothschild the right to identify his depictions of Birkin bags as “MetaBirkins”—

a name that both refers to the context in which he makes the art available (i.e., the online, virtual

environment popularly dubbed the “Metaverse”) and alludes to his artwork’s “meta”

commentary on the Birkin bag and the fashion industry more generally.

       Under Rogers, Hermès’ claims are straightforwardly defective. Hermès hopes to confuse

matters by emphasizing that Rothschild sells his digital artwork by way of non-fungible tokens

(NFTs). But Rothschild’s art does not lose its First Amendment protection just because he sells

it: almost every case in which courts have applied Rogers—including Rogers itself—has




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involved speech that was sold. And the fact that Rothschild sells each digital artwork with an

NFT, the technological means by which Rothschild authenticates his artworks, makes no

difference: Rothschild’s First Amendment rights do not depend on how he sells his art any more

than they depend on whether he sells it.

       The bottom line here is that Hermès wants to stop Rothschild from creating fanciful

pictures that comment on its handbags, from calling those artworks “MetaBirkins,” and from

promoting those artworks. But trademark law does not give Hermès control over Rothschild’s

art. Nor can it. The First Amendment guarantees his right to respond in the marketplace of ideas

to the inescapable corporate brand messages by which we are bombarded every day, virtually

everywhere we look.

                                  FACTUAL BACKGROUND

       Hermès is a designer, producer, and international purveyor of luxury goods, including

handbags, apparel, scarves, jewelry, fashion accessories, and home furnishings. Complaint (Dkt.

No. 1) (“Compl.”) ¶¶ 19-24.1 Hermès sells “Birkin” handbags at prices that range from “from

thousands of dollars to over one hundred thousand dollars.” Id. ¶ 29. Hermès boasts that its

Birkin handbag has become a “symbol of rarefied wealth” and has “withstood trends and

WEATHERED SEASONS to become an INDELIBLE PART of the CULTURE.” Id. ¶¶ 32, 35

& Exs. F, H (emphasis in original). Hermès owns trademark rights in the Hermès and Birkin

marks and trade dress rights in the Birkin handbag design. Id. ¶¶ 26-28.

       Rothschild is an artist who resides in California. In or around May 2021, Rothschild

created and sold a digital artwork that he called “Baby Birkin,” a digital image depicting a 40-




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  Solely for the purposes of this motion to dismiss, Rothschild does not dispute facts alleged in
the Complaint.

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week-old fetus gestating inside of a transparent Birkin handbag. Id. ¶¶ 53-54, Fig. 3. Rothschild

sold the “Baby Birkin” artwork as a digital image online connected to a digital non-fungible

token (NFT); the work initially sold for $23,500 and then resold for $47,000. Id.

       NFTs are “unique and non-fungible (i.e., non-interchangeable) units of data stored on a

blockchain just as cryptocurrencies (which are fungible) are stored on a blockchain.” Id. ¶ 2.

NFTs “can be created to transfer ownership of any physical thing or digital media, including an

actual handbag or the image of a handbag.” Id. Merriam-Webster defines an NFT as “a unique

digital identifier that cannot be copied, substituted, or subdivided, that is recorded in a

blockchain, and that is used to certify authenticity and ownership (as of a specific digital asset

and specific rights relating to it),” and also as “the asset that is represented by a non-fungible

token.”2

       In or around December 2021, Rothschild created and sold a series of digital artworks that

he called “MetaBirkins.” Id. ¶¶ 56-57. Each of the 100 images in Rothschild’s “MetaBirkins”

series is a unique, fanciful interpretation of a Birkin bag. While Rothschild’s art is made with

pixels and exists only online, the images he creates depict the bags as fur covered—in contrast to

actual Birkin handbags, which are made from the tanned hides of slaughtered animals. Id. ¶¶ 29,

56-57, Fig. 4 & Ex. S. As with “Baby Birkin,” Rothschild sold his “MetaBirkins” artworks using

NFTs. Id. ¶¶ 56-57. Thus, the NFTs at issue here signify ownership of an image of a handbag. Id.

Notably, Hermès does not allege that Rothschild has ever made, offered, or distributed any

physical handbags using the Birkin name or trade dress.




2
 “Non-fungible token.” Merriam-Webster.com Dictionary, Merriam-Webster,
https://www.merriam-webster.com/dictionary/non-fungible%20token. Accessed 9 Feb. 2022. See
Everdry Marketing and Management, Inc. v. Delves & Giufre Enterprises, Inc., 319 F. Supp. 3d
626, 632 n.1 (W.D.N.Y. 2018) (taking judicial notice of dictionary definitions).

                                                  3
                                          ARGUMENT

 I.    THE STANDARD FOR A MOTION TO DISMISS

       When deciding a motion to dismiss for failure to state a claim pursuant to Federal Rule of

Civil Procedure 12(b)(6), the Court must accept as true all well-pleaded facts alleged in the

complaint that “plausibly give rise to an entitlement for relief.” Ashcroft v. Iqbal, 556 U.S. 662,

679 (2009). “Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice” to withstand a motion to dismiss. Id. at 678.

       “In considering a motion to dismiss for failure to state a claim pursuant to Rule 12(b)(6),

a district court may consider the facts alleged in the complaint, documents attached to the

complaint as exhibits, and documents incorporated by reference in the complaint.” DiFolco v.

MSNBC Cable LLC, 622 F.3d 104, 111 (2d Cir. 2010) (citing Chambers v. Time Warner,

Inc., 282 F.3d 147, 153 (2d Cir. 2002)). The Court may also consider a document that is not

incorporated by reference “where the complaint ‘relies heavily upon its terms and effect,’

thereby rendering the document ‘integral’ to the complaint.” Id. (quoting Mangiafico v.

Blumenthal, 471 F.3d 391, 398 (2d Cir. 2006)).

II.    HERMÈS’ TRADEMARK INFRINGEMENT CLAIMS MUST BE DISMISSED
       UNDER THE SECOND CIRCUIT’S HOLDING IN ROGERS v. GRIMALDI

       Rothschild’s fanciful depictions of fur-covered Birkin bags and his identification of his

artworks as “MetaBirkins” are artistically relevant and do not explicitly mislead about their

source or content. Hermès’ claims therefore must be dismissed under Rogers v. Grimaldi.

       In Rogers, the Second Circuit rejected a claim by legendary actress and dancer Ginger

Rogers that the use of her name in the title of the motion picture Ginger and Fred infringed her

rights in her name. 875 F.2d 994. The Rogers court held that where the defendant’s product is

artistic or expressive, the Lanham Act must be interpreted “narrowly in order to avoid



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suppressing protected speech under the First Amendment.” Id. at 998; see also id. (“Titles, like

the artistic works they identify, are of a hybrid nature, combining artistic expression and

commercial promotion. The title of a movie may be both an integral element of the film-maker’s

expression as well as a significant means of marketing the film to the public. The artistic and

commercial elements of titles are inextricably intertwined.”).3

       Rogers offers a clear rule: “[I]n general the [Lanham] Act should be construed to apply to

artistic works only where the public interest in avoiding consumer confusion outweighs the

public interest in free expression.” Id. at 999. As the Second Circuit explained, “that balance will

normally not support application of the [Lanham] Act unless [the use of the trademark] has no

artistic relevance to the underlying work whatsoever, or if it has some artistic relevance, unless

[the use of the trademark] explicitly misleads as to the source or content of the work.” Id.

(emphasis added).

       While Rogers focused specifically on the use of a celebrity’s name in the title of a film,

the Second Circuit has since held that “the Rogers balancing approach is generally applicable to

Lanham Act claims against works of artistic expression.” Cliffs Notes v. Bantam Doubleday Dell

Publ. Group, 886 F.2d 490, 495 (2d Cir. 1989) (reversing as a matter of law district court

injunction against “Spy Notes” parody of “Cliffs Notes”); see also AM General LLC v.




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  Whenever the commercial aspects of a work are intertwined with artistic content, the First
Amendment dictates that the trademark-using speech must be treated as noncommercial. Riley v.
Nat’l Fed’n of the Blind of N.C., Inc., 487 U.S. 781, 796 (1988) (“[W]e do not believe that the
speech retains its commercial character when it is inextricably intertwined with otherwise fully
protected speech”); Mattel, Inc. v. MCA Records, Inc., 296 F.3d 894, 906-07 (9th Cir. 2002) (the
commercial purpose of using “Barbie” in a song title was “inextricably intertwined” with the
“expressive elements” of the song) (citations omitted); Parks v. LaFace Records, 329 F.3d 437,
449 (6th Cir. 2003) (“[I]f a song is sold, and the title is protected by the First Amendment, the
title naturally will be ‘inextricably intertwined’ with the song’s commercial promotion.”)
(citations omitted).

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Activision Blizzard, Inc., 450 F. Supp. 3d 467, 477 (S.D.N.Y. 2020) (applying Rogers to

appearance of distinctive vehicle in videogame and granting summary judgment to defendant);

Louis Vuitton Malletier S.A. v. Warner Bros. Entm’t, 868 F. Supp. 2d 172 (S.D.N.Y. 2012)

(applying Rogers to use of fake Louis Vuitton bag in a movie, and to character’s reference to that

bag as a “Lewis Vuitton,” and granting defendant’s motion to dismiss).4

       Rogers has been widely adopted in other circuits, and courts have uniformly extended its

rule beyond titles to cover all uses in the content of noncommercial speech—that is, speech that,

while sold for profit, does more than simply propose a commercial transaction. Bolger v. Youngs

Drug Prod’s Corp., 463 U.S. 60, 66 (1983). See, e.g., VIP Products LLC v. Jack Daniel’s

Properties, Inc., 953 F.3d 1170 (9th Cir. 2020) (applying Rogers to for-profit parody dog toys

designed to look like Jack Daniel’s bottles); Twentieth Century Fox Television v. Empire Dist.

Inc., 875 F.3d 1192, 1198 (9th Cir. 2017) (affirming summary judgment for defendant in case

involving use of trademark in name of for-profit television series and related merchandise: “The

only threshold requirement for the Rogers test is an attempt to apply the Lanham Act to First

Amendment expression”); Radiance Found., Inc. v. NAACP, 786 F.3d 316, 329 (4th Cir. 2015)

(vacating district court’s Lanham Act preliminary injunction against use of trademarks to

criticize trademark owner); Brown v. Elec. Arts, Inc., 724 F.3d 1235, 1241-42 (9th Cir. 2013)

(affirming dismissal of Lanham Act claims involving defendant’s use of plaintiff’s likeness in

for-profit video games); Univ. of Alabama Bd. of Tr. v. New Life Art, Inc., 683 F.3d 1266, 1278

(11th Cir. 2012) (rejecting Lanham Act claims against paintings, prints, and calendars that

depicted a university’s football uniforms and were sold for profit); Mattel, Inc. v. Walking



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  The movie at issue in Rogers was about fictional characters nicknamed Ginger and Fred, so the
movie itself made substantial use of Rogers’ name. Indeed, the content of the movie was the
reason the title was artistically relevant. Rogers, 875 F.2d at 1001.

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Mountain Prods., 353 F.3d 792, 796 (9th Cir. 2003) (rejecting Lanham Act claims based on use

of “Barbie” trademark and trade dress in title and content of photograph series sold for profit);

ETW Corp. v. Jireh Publ’g, Inc., 332 F.3d 915, 928 (6th Cir. 2003) (rejecting Lanham Act claims

based on use of trademark in for-profit artwork, packaging, and narrative accompanying

artwork); E.S.S. Ent 2000, Inc. v. Rock Star Videos, Inc., 547 F.3d 1095, 1099 (9th Cir. 2008)

(rejecting Lanham Act claims against for-profit video game: application of Rogers test is not

dependent on the identifying material appearing in the title but “also appl[ies] to the use of a

trademark in the body of the work”); MCA, 296 F.3d at 902 (rejecting trademark claims based on

use of “Barbie” trademark in for-profit song title and content).

       Courts’ use of Rogers to assess trademark claims relating to the content of expressive

works in addition to their titles is only logical. Compared to titles, consumers are even less likely

to be misled regarding source or sponsorship by the expressive content of a work, diminishing

the consumer protection interest at stake. On the other side of the balance, the First Amendment

interest in choosing relevant aspects of the world to depict in the substance of a work is at least

as weighty as the interest in choosing a title. Cf. Cohen v. California, 403 U.S. 15, 26 (1971)

(“[W]e cannot indulge the facile assumption that one can forbid particular words without also

running a substantial risk of suppressing ideas in the process.”)

       Rogers thus applies to Hermès’ claims regarding Rothschild’s digital artwork depicting

and commenting on Birkin bags, his use of “MetaBirkins” as the name of his art project, and his

use of that name to refer to his artworks and art projects on Instagram, Twitter, and elsewhere.

Under Rogers, all of Rothschild’s uses are protected: they are artistically relevant and not

explicitly misleading.




                                                  7
        A.      Rothschild’s Depictions of Birkin Bags and Use of the “MetaBirkins” Name
                are Artistically Relevant.

        Under the first prong of the Rogers test, “courts must determine whether the use of the

trademark has any artistic relevance whatsoever.” AM General, 450 F. Supp. 3d at 477 (quoting

Rogers, 875 F.2d at 999). As courts in this Circuit have repeatedly noted, the requirement of

minimal artistic relevance “is not unduly rigorous out of the understanding that the

‘overextension of Lanham Act restrictions … might intrude on First Amendment values.’” Id.

(quoting Rogers, 875 F.2d at 998); see also Rogers, 875 F.2d at 999 (describing the

“appropriately low threshold of minimal artistic relevance”); Louis Vuitton, 868 F. Supp. 2d at

178 (describing the artistic relevance threshold as “purposely low”).

        According to the Ninth Circuit, which adopted Rogers and has applied it to a wide range

of noncommercial speech, artistic relevance must simply be “more than zero.” See, e.g., E.S.S.,

547 F.3d 1095. See also Brown, 724 F.3d at 1245 (“This black-and-white rule has the benefit of

limiting [a court’s need] to engage in artistic analysis in this context.”).

        There can be no doubt that Rothschild’s depictions of Birkin bags in his artwork, and the

use of the “MetaBirkins” name to explain what he has depicted, easily exceed this low threshold

of artistic relevance. Artists generally are free to choose the topics they address and to depict

objects that exist in the world as they see them. Rothschild’s fanciful “MetaBirkins” depict furry

Birkin bags, reflecting his comment on the fashion industry’s animal cruelty and the movement

to find leather alternatives. The digital images invite viewers to consider the difference between

the material objects—made of animal skins in reality—and the fantasized, immaterial images

with their faux fur. Rothschild’s images show luxury with no function but communication,

luxury emptied of anything but its own image, calling into question what it is that luxury lovers




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actually pay for. Rothschild is not attacking the Birkin, but inviting consideration of its meaning

as an image, rather than as a handbag.

       Well-known brands have long been the subject of such artistic reflection and

commentary. Andy Warhol famously depicted iconic brands, including Campbell’s Soup and

Coca-Cola, in stylized but plainly recognizable form.




       Warhol was one of many pop artists who depicted branded products, and brands remain

highly relevant to contemporary artists. In fact, the significance of branding to popular culture

has only grown, making brands even larger parts of our common cultural vocabulary. As Judge

Furman recognized in a case about a commercial product that parodied Louis Vuitton, the

message of invoking a well-known luxury brand derives from “the features of the [product]

itself, society’s larger obsession with status symbols, and the meticulously promoted image of

expensive taste (or showy status) that Louis Vuitton handbags have, to many, come to

symbolize.” Louis Vuitton Malletier, S.A. v. My Other Bag, Inc., 156 F. Supp. 3d 425, 436

(S.D.N.Y. 2016), aff’d, 674 Fed.Appx. 16 (2d Cir. 2016) (emphasis in original).




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       An artist’s choice of which brands to depict is itself a reflection of that artist’s view of the

world, and art reproducing brands can illuminate how much power brands have over people in

our society. See MCA, 296 F.3d at 900 (recognizing the importance of brand references in

modern social discourse); Stacey L. Dogan & Mark A. Lemley, Parody as Brand, 47 U.C. DAVIS

L. REV. 473, 486 (2013) (speech about brands is “a valuable form of social commentary” that

“invites critical reflection on the role of brands in society and the extent to which we define

ourselves by them”) (footnotes omitted); Alex Kozinski, Trademarks Unplugged, 68 N.Y.U. L.

REV. 960, 973 (1993) (“Trademarks are often selected for their effervescent qualities, and then

injected into the stream of communication with the pressure of a firehose by means of mass

media campaigns. Where trademarks come to carry so much communicative freight, allowing the

trademark holder to restrict their use implicates our collective interest in free and open

communication.”).

       As controlling case law in this Circuit makes clear, the artist’s choice of subject matter

determines artistic relevance. In Rogers, the Second Circuit held the title “Ginger and Fred”

artistically relevant because the central characters in the film were nicknamed “Ginger” and

“Fred.” 875 F.2d at 1001. Importantly, the film was not about Ginger Rogers and Fred Astaire—

the characters were fictional and the filmmaker could have chosen different names, but the

names were “not arbitrarily chosen just to exploit the publicity value of their real-life

counterparts but instead ha[d] genuine relevance to the film’s story.” Id.; see also id. at 998

(“Filmmakers and authors frequently rely on word-play, ambiguity, irony, and allusion in titling

their works. Furthermore, their interest in freedom of artistic expression is shared by their

audience. The subtleties of a title can enrich a reader’s or viewer’s understanding of a work.”).

Indeed, because use of Ginger Rogers’ name was clearly artistically relevant and did not




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explicitly mislead, the court rejected her claim despite survey and anecdotal evidence of

consumer confusion. Id. at 1001; see also id. at 997 (discussing publicists’ initial

misunderstanding of the movie).

       Similarly, in Louis Vuitton, the court considered the use of a knock-off Louis Vuitton bag

coupled with a character’s humorous mispronunciation of the brand in the movie The Hangover:

Part II. 868 F. Supp. 2d at 178. In concluding that the use met the “low threshold” of artistic

relevance, the court noted that the brief scene was able to effectively portray the character as

“snobbish” and “socially inept and comically misinformed” precisely “because the public

signifies Louis Vuitton . . . with luxury and a high society lifestyle.” Id.; see also Walking

Mountain, 353 F.3d at 807 (finding “Food Chain Barbie” and the titles of specific works

referencing Barbie artistically relevant because they referred to artist’s photographs, which

depicted Barbie and targeted the doll with the artist’s message, which although somewhat vague,

was clearly about Barbie).

       While NFTs could, in theory, be used to authenticate the ownership of anything—

including cars or monkeys or other assets having nothing to do with Hermès—here Hermès

pleads that these NFTs are attached to images of MetaBirkins, which are artistic renderings of

Birkin bags. This is precisely what artistic relevance is about.

       B.      Rothschild’s Use is not Explicitly Misleading.

            1. Explicitly Means Explicitly.

       Where the use of a trademark has some artistic relevance, as it does here, Rogers

provides that the Lanham Act can be applied only if the use of the trademark “explicitly misleads

as to the source of the work.” 875 F.2d at 999. But where the “artistic relevance” test set a low




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bar, this exception sets a high bar. Specifically, for the Lanham Act to apply to an expressive

work, the use must be explicitly misleading; implicit suggestions are not enough.

        In Rogers, the Second Circuit gave examples that illustrate the narrowness of the concept

of “explicitly misleading.” Explicitly misleading titles would be “Nimmer on Copyright” for a

treatise that was not authored by Nimmer, or “Jane Fonda’s Workout Book” for a book Jane

Fonda had nothing to do with. Id. Likewise, titles containing references that explicitly signified

endorsement—e.g.,“an authorized biography”—might warrant a Lanham Act claim, even if the

title had some artistic relevance. Id.

        The Rogers court contrasted those explicitly misleading uses with the “many titles” that

“include a well-known name without any overt indication of authorship or endorsement—for

example, the hit song ‘Bette Davis Eyes,’ and the film ‘Come back to the Five and Dime, Jimmy

Dean, Jimmy Dean.’” Id. “To some people, th[o]se titles might implicitly suggest that the named

celebrity had endorsed the work or had a role in producing it.” Id. at 999-1000. But, the court

made clear, “the slight risk that such use of a celebrity’s name might implicitly suggest

endorsement or sponsorship to some people is outweighed by the danger of restricting artistic

expression, and the Lanham Act is not applicable.” Id. at 1000. As the Ninth Circuit has

explained:

        If we see a painting titled ‘Campbell's Chicken Noodle Soup,’ we're unlikely to believe
        that Campbell's has branched into the art business. Nor, upon hearing Janis Joplin croon
        “Oh Lord, won't you buy me a Mercedes–Benz?,” would we suspect that she and the
        carmaker had entered into a joint venture. A title tells us something about the underlying
        work but seldom speaks to its origin.

MCA, 296 F.3d at 902.

        These examples make clear that explicit misleadingness cannot be established by use of

the mark alone. Indeed, “if the use of a mark alone were sufficient ‘it would render Rogers a




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nullity.’” Brown, 724 F.3d at 1245 (quoting MCA, 296 F.3d at 902); see also E.S.S., 547 F.3d at

1100 (“[T]he mere use of a trademark alone cannot suffice to make such use explicitly

misleading.”); Dr. Seuss Enters., L.P. v. Comicmix LLC, 983 F.3d 443, 462-63 (9th Cir. 2020)

(concluding that the copying of distinctive elements of Dr. Seuss books was not explicitly

misleading where the actual creator was disclosed).

       For these reasons, Rothschild’s titling of his artwork as “MetaBirkins” cannot, in itself,

be “explicitly misleading,” even if it were true that some people might take the name to

implicitly suggest that Hermès had “endorsed the work or had a role in producing it.” Rogers,

875 F.2d at 999-1000. Rogers specifically held that, where there is a “mixture of meanings, with

the possibly misleading meaning not the result of explicit misstatement,” there is no claim under

the Lanham Act. Id. at 1001.

       In sum, Rogers “insulates from restriction titles [and works] with at least minimal artistic

relevance that are ambiguous or only implicitly misleading.” Id. at 1000. And even when the

artist is referring to the trademark claimant (as in Rogers itself), a use is ambiguous when it

requires the reader to draw an inference that there is a sponsorship or endorsement relationship

between the parties, rather than making that assertion explicitly and directly.5



5
  Courts’ treatment of this distinction between explicit and implicit claims in Lanham Act §
43(a)(1)(B) false advertising cases is consistent with the treatment of ambiguity in Rogers and
can further guide the analysis here. Cf. Time Warner Cable, Inc. v. DIRECTV, Inc., 497 F.3d
144, 158 (2d Cir. 2007) (“[O]nly an unambiguous message can be explicitly false. Therefore, if
the language or graphic is susceptible to more than one reasonable interpretation, the[n it] . . .
cannot be literally false.”); United Indus. Corp. v. Clorox Co., 140 F.3d 1175, 1181 (8th Cir.
1998) (“The greater the degree to which a message relies upon the viewer or consumer to
integrate its components and draw the apparent conclusion, . . . the less likely it is that a finding
of literal falsity will be supported. Commercial claims that are implicit, attenuated, or merely
suggestive usually cannot be characterized as literally false.”); Suzie’s Brewery Co. v. Anheuser-
Busch Cos., 519 F. Supp. 3d 839, 846 (D. Or. 2021) (“[I]f the language . . . is susceptible to more
than one reasonable interpretation, the advertisement cannot be literally false.”); Smith-Kline
Beecham Consumer Healthcare, L.P. v. Johnson & Johnson-Merck Consumer Pharms. Co., No.

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       There is nothing explicitly misleading about Rothschild’s depictions of Birkin bags or his

use of the “MetaBirkins” name as the title of his art project. Nor is Rothschild’s use of the term

on his website, his Instagram page, or his Twitter feed explicitly misleading. Indeed, as the

screenshot below shows, the landing page of the MetaBirkins website clearly identifies

MetaBirkins as Mason Rothschild’s art project, in partnership with Basic.Space (not Hermès),

and it describes the MetaBirkins as “inspired by the acceleration of fashion’s ‘fur free’ initiatives

and embrace of alternative textiles.”




Compl. ¶ 64, Fig. 5.

       Hermès misrepresents the content of Rothschild’s website by alleging that “the

advertising slogan ‘NOT YOUR MOTHER’S BIRKIN,’” which appears as animated text over

images of MetaBirkins, “does not always appear and at times only the BIRKIN Mark is

prominently displayed.” Compl. ¶¶ 66-67. But as the Court can easily see by visiting

www.metabirkins.com/notyourmothersbirkin, the image Hermès includes in its complaint as


1 Civ. 2775 (DAB), 2001 WL 588846, at *8 (S.D.N.Y. June 1, 2001) (same; ads with “several
plausible meanings” cannot be explicitly false).

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Figure 7 is highly misleading. Because the text of “NOT YOUR MOTHER’S BIRKIN” is

animated, and because each of those words appears over a single image, the only way that the

screen would appear as represented by Hermès would be if someone hovered over only the two

images to the far right of the screen and never moved their cursor. Hermès manufactured an

image that is unrepresentative of the website in order to make it appear misleading. See, e.g.,

Brown v. Showtime Networks, Inc., 394 F. Supp. 3d 418, 436 (S.D.N.Y. 2019) (content of film

integral to infringement complaint; “The Court will consider the film itself—not the parties’

characterizations of what it shows.”).

       Nor is there anything explicitly misleading about the social media accounts for the

MetaBirkins art project:




Compl. ¶¶ 91, 94, Figs. 16, 18.

       Any inference a consumer might draw about the relationship between the “MetaBirkins”

artworks and Hermès is not due to anything that is “explicitly misleading” in Rothschild’s uses



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of the term “MetaBirkins,” and, as a consequence, Rothschild’s First Amendment speech rights

must take precedence over Hermès’ trademark complaints.6

           2. Explicit Misleadingness is Not a Function of Confusion.

       Whether the defendant’s use of the mark is explicitly misleading is not a function of the

amount of possible confusion. Some lower courts in this Circuit have cited Twin Peaks

Productions, Inc. v. Publ’ns Intern., Ltd., 996 F.2d 1366 (2d Cir. 1993), for the proposition that

explicit misleadingness must be assessed, in the first instance, by way of the Polaroid factors.

See, e.g., Louis Vuitton, 868 F. Supp. 2d at 179. But Twin Peaks involved a situation that Rogers

itself clearly exempted from the Rogers rule: cases of title-versus-title conflicts. The Twin Peaks

“quick look” Polaroid approach applies, by its own terms, when the plaintiff claims rights in an

artistic work, not a consumer good like a handbag. Rogers itself did not perform even a “quick

look” Polaroid analysis. Instead, Rogers rejected Rogers’ claim despite survey evidence showing

that a not insubstantial percentage of the public did tend to misunderstand Rogers’ involvement

in the film, because that misunderstanding was “not engendered by any overt claim.” 875 F.2d at

1001; cf. Brown, 724 F.3d at 1245 (holding that survey evidence showing that the majority of

consumers believe that identifying marks cannot be included in games without permission

“changes nothing” in the Rogers analysis in the absence of an explicitly misleading affirmative

claim).7 As the Ninth Circuit said, “[t]he [Rogers] test requires that the use be explicitly



6
  Even if Rogers did not apply, the First Amendment would require a remedy other than
suppression of speech, such as a disclaimer. The First Amendment protects similar titles against
confusion claims where the speaker provides means to distinguish the works. See Cliffs Notes, 886
F.2d at 496; Yankee Publ’g Inc. v. News America Publ’g Inc., 809 F. Supp. 267, 279-80 (S.D.N.Y.
1992).
7
  Even when courts have performed a “quick look” Polaroid analysis, they have been clear that
the likelihood of confusion must be “particularly compelling” to outweigh the First Amendment
interests in artistic expression. See Twin Peaks, 996 F.2d at 1379.

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misleading to consumers. To be relevant, evidence must relate to the nature of the behavior of

the identifying material's user, not the impact of the use.” Brown, 724 F.3d at 1245-46; Twentieth

Century Fox, 875 F.3d at 1199 (“To fail the second prong of the Rogers test, it is key that the

creator must explicitly mislead consumers. We must ask not only about the likelihood of

consumer confusion but also whether there was an explicit indication, overt claim, or explicit

misstatement that caused such consumer confusion.”) (cleaned up); Univ. of Ala. Bd. of Trustees,

683 F.3d at 1279 (similar).

        The First Amendment basis of Rogers explains why the rule here must be strong:

noncommercial speech is vulnerable to chilling effects. If the rule required extensive factfinding

before upholding artistic freedom, then a trademark owner would be able to deter speech by the

threat of a lawsuit, even an unsuccessful one. See William McGeveran, The Imaginary

Trademark Parody Crisis (and the Real One), 90 WASH L. REV. 713 (2015) (describing the

prohibitive costs of going through litigation on likelihood of confusion, even when the defendant

is likely to prevail).

        C.      Rothschild’s Sale of His Art Does Not Reduce its First Amendment
                Protection.

        The fact that Rothschild sells his art is utterly unremarkable and legally irrelevant. In

Rogers, the movie studio defendant sold the motion picture at issue.8 The Hangover Part II, the

motion picture at issue in Louis Vuitton, had grossed “roughly $580 million globally as of the

date of the complaint.” See 868 F. Supp. 2d at 174. Indeed, in every single case in which courts

in the Second Circuit have applied Rogers, the defendant was selling its work. The same is



8
 A fact the Rogers court plainly recognized when it distinguished fully First Amendment-
protected speech sold in the market from ordinary, non-speech commercial products. 875 F.2d at
998 (“the expressive element of titles requires more protection than the labeling of ordinary
commercial products”).

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overwhelmingly true in every other circuit, including in cases involving millions of dollars in

revenue. See, e.g., MCA, 296 F.3d 894; Twentieth Century Fox, 875 F.3d 1192. Rogers applies

because the challenged use is noncommercial speech—i.e., speech that does more than simply

propose a commercial transaction. Bolger, 463 U.S. at 66. If speech is not “purely

commercial”—that is, if it does more than propose a commercial transaction—then it is entitled

to full First Amendment protection. Twentieth Century Fox, 875 F.3d at 1185-86 (cleaned up);

see also Riley, 487 U.S. at 796.

       As the Supreme Court has noted, noncommercial speech is often sold for profit. See, e.g.,

Brown v. Ent. Merch. Ass’n, 564 U.S. 786, 790 (2011) (video games); City of Lakewood v. Plain

Dealer Publ’g Co., 486 U.S. 750, 756 n.5 (1988) (citing Pittsburgh Press Co. v. Pittsburgh

Comm’n on Human Rel., 413 U.S. 376, 385 (1973)) (“Of course, the degree of First Amendment

protection is not diminished merely because the newspaper or speech is sold rather than given

away.”); Smith v. California, 361 U.S. 147, 150 (1959) (“It is of course no matter that the

dissemination [of books] takes place under commercial auspices.”). Selling videogames, movies,

or books is a profitable business, but Rogers and the cases that apply it make clear that all of

these types of expressive works get full First Amendment protection. The First Amendment

limits the reach of the Lanham Act in all these cases because the expression is what is being

sold—the expression is what makes these things valuable to audiences—rather than merely being

advertising for a separate product.

       So too here: Rothschild is selling digital artworks, not physical handbags, just as Andy

Warhol sold the 32 paintings in his “Campbell’s Soup Cans” series, not physical cans of soup.

Rothschild’s “MetaBirkins,” like Warhol’s “Campbell’s Soup Cans,” attract audiences because




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of the creative expression they contain, not because they are useful for carrying lipstick or can be

eaten for lunch.

       Nor does the fact that Rothschild is using a new technological mechanism to authenticate

his art change the fact that he’s selling art. An NFT is merely code that points to a digital asset.

See p. 3, supra. As Hermès’complaint inconsistently acknowledges, the NFT is not the digital

artwork; it is code that points to a place where the associated digital image can be found, and that

authenticates that image. Id.9 Rothschild’s use of NFTs to sell his artworks here thus is no

different than selling limited edition prints. See, e.g., Walking Mountain, 353 F.3d 792; cf. ETW,

332 F.3d at 937 (protecting artwork featuring Tiger Woods under Rogers where associated

promotional material described the content of the work using the name “Tiger Woods”). Using

an NFT to authenticate an artwork no more makes the artwork a “commodity” unprotected by

the First Amendment, see Compl. ¶ 2, than does selling numbered copies of physical paintings

make those paintings commodities for purposes of Rogers.

       Likewise, the fact that buyers may later transfer ownership of a “MetaBirkins” artwork

by reselling the NFT associated with it (which, again, is not the art itself but merely code

pointing to the digital image) changes nothing. If a museum sold exclusive viewing access to a

painting by requiring physical tokens in order to enter the room where the painting was located,

those tokens might become “commodities” in the sense of being transferable for money, just as

CDs of “Barbie Girl” or DVDs of Ginger and Fred are transferable for money. See MCA, 296

F.3d 894; Rogers, 875 F.2d 994. The transferability of access to a work has no effect on the First

Amendment status and protection of the artwork itself. In other words, that NFTs could be




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  Of course, if the NFTs did contain the images, then they would be directly analogous to the
film in Rogers, and Hermès’ claims just as straightforwardly defective.

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associated with actual handbags, Compl. ¶ 2, does not make Rothschild’s NFTs non-artistic any

more than the existence of other types of authentication documents means that art, handbags, and

real estate are the same for constitutional purposes. Hermès does not allege that the relevant

NFTs are linked to anything other than Rothschild’s artwork.

       Neither the marketability of copies of artwork nor the particular technological means of

authenticating that artwork are legally meaningful. Hermès has not pleaded any facts about the

technology of NFTs that changes the well-settled law governing expressive works.

III.   EVEN IF ROGERS DID NOT APPLY, DASTAR WOULD BAR HERMÈS’
       INFRINGEMENT CLAIMS HERE

       Even if Rogers were not directly on point and dispositive in this case—which it is—the

Supreme Court’s decision in Dastar Corp. v. Twentieth Century Fox Film Corp., 539 U.S. 23

(2003), would be fatal to Hermès’ claims here. Hermès’ fundamental complaint is that

consumers will believe Rothschild’s MetaBirkins artworks are sponsored by or affiliated with

Hermès. Specifically, Hermès complains that, because Rothchild depicts Birkin bags and calls

his art MetaBirkins, consumers will believe that Hermès is the origin of the artwork, or that

Hermès has some relationship with the art project.

       That claim is barred by Dastar, which unambiguously holds that only misrepresentations

of the origin of physical goods are actionable under the Lanham Act. 539 U.S. at 37. Other sorts

of misrepresentations, including but not limited to misrepresentations of the origin of creative

content, are not actionable. See id. (holding that “origin of goods” as used in the Lanham Act

refers only to “the producer of the tangible goods that are offered for sale, and not to the author

of any idea, concept, or communication embodied in those goods”). The MetaBirkins artworks

are communicative goods that Dastar places outside the scope of the Lanham Act. To the extent

that they have physical existence, Hermès does not allege that the NFTs and the associated URLs



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identifying where the MetaBirkins images are hosted misrepresent their own physical origin. The

alleged confusion comes only from the content and title of the intangible MetaBirkins artworks.

       Dastar was decided in 2003, after the Second Circuit’s decision in Rogers and several

subsequent decisions applying Rogers more broadly to artistic works. But many of the cases

resolved under the Rogers framework in this Circuit also implicate Dastar in that they all

involved allegations that consumers would be confused about the origin or sponsorship of

creative content, rather than about who physically produced the goods at issue. See, e.g., Rogers,

875 F.2d at 997; Twin Peaks, 996 F.2d at 1378; AM General, 450 F. Supp. 3d at 482; Louis

Vuitton, 868 F. Supp. 2d at 175.

       The same is true here. Even without Rogers, the rule of Dastar is equally clear: confusion

as to the origin of intangible creative content is not actionable under the Lanham Act.

IV.    HERMÈS’ TRADEMARK DILUTION CLAIMS MUST BE DISMISSED

       A.      Rogers Applies to Hermès’ Dilution Claims.

       Rothschild’s First Amendment rights under Rogers preclude Hermès’ dilution claims as

well, especially given that dilution implicates no countervailing interest in consumer protection.

See AM General, 450 F. Supp. 3d at 488 (dismissing AM General’s federal and state dilution

claims as barred by Rogers); Louis Vuitton, 868 F. Supp. 2d at 184 (dismissing Louis Vuitton’s

New York anti-dilution claim and common law unfair competition claim because those claims

were based on the same permissible conduct as the Lanham Act claim); see also, e.g., Jackson v.

Netflix, Inc., 506 F. Supp. 3d 1007, 1014 (C.D. Cal. 2020) (applying Rogers to all Lanham Act

claims, including dilution).




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       B.      Noncommercial Uses Do Not Dilute.

       Even beyond Rogers and the First Amendment, the federal dilution statute, 15 U.S.C. §

1125(c)(3)(C) (2018), expressly excludes “noncommercial” uses. In doing so, the statute relies

on the First Amendment’s definition of noncommercial speech, which extends to all expression

that does more than simply propose a transaction, including the digital art at issue here. See

section II(A), supra; MCA, 296 F.3d at 905-06 (interpreting statutory language that, while since

reformulated, retains the “noncommercial” exemption unchanged and explaining that for-profit

speech which is itself the product being sold is noncommercial).

       State law dilution has the same limit, possibly as a matter of constitutional avoidance. See

Louis Vuitton, 868 F. Supp. 2d at 184 (dismissing New York dilution and unfair competition

claims against a fictional film where Rogers protected the film); Yankee Publ’g, 809 F. Supp. at

282 (“[T]he same First Amendment considerations that limit a cause of action under the Lanham

Act apply also to a cause of action under New York law.”); see also L.L. Bean, Inc. v. Drake

Publishers, Inc., 811 F.2d 26, 32 (1st Cir. 1987) (“It offends the Constitution . . . to invoke the

[Maine] anti-dilution statute as a basis for enjoining the noncommercial use of a trademark by a

defendant engaged in a protected form of expression.”).

       C.      Referential Uses Do Not Dilute.

       Definitionally, dilution does not cover Rothschild’s use of “MetaBirkins” because his use

is referential, rather than being commercial use as a separate mark for an unrelated good or

service, as the Lanham Act requires. The Act defines dilution by blurring as the “association

arising from the similarity between a mark or trade name and a famous mark that impairs the

distinctiveness of the famous mark.” 15 U.S.C. § 1125(c)(2)(B) (2018). That definition requires




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that the defendant use the allegedly-diluting mark as a mark for distinct goods or services.10 The

idea is that consumers are not confused by two similar marks such as Delta Dental and Delta

Airlines, but the plaintiff’s mark nonetheless is impaired because it becomes “less unique.”

       The analysis “must ultimately focus on whether an association, arising from the similarity

between the subject marks, impairs the distinctiveness of the famous mark—that is, the ability of

the famous mark to serve as a unique identifier.” Louis Vuitton, 156 F. Supp. 3d at 434 (citing

Starbucks Corp. v. Wolfe’s Borough Coffee, Inc., 736 F.3d 198, 204 (2d Cir. 2013)) (cleaned up).

When the defendant invokes a famous mark in reference to the products identified by the mark,

this only tends to reinforce, rather than weaken, the distinctiveness of a mark, and there is no

blurring. For example, where eBay used “Tiffany” without Tiffany’s permission to advertise that

it sold genuine Tiffany products, there was no second mark or product (no second “Tiffany”) that

would blur the connection between the “Tiffany” mark and Tiffany & Co. Thus, there was no

dilution under state or federal law, even if some of the products on eBay were counterfeit.

Tiffany (NJ) Inc. v. eBay Inc., 600 F.3d 93, 111-12 (2d Cir. 2010). Rothschild’s uses are even

more clearly referential. Rothschild uses the “MetaBirkins” name to refer to an artistic

illustration of a Birkin bag. Far from being “dilutive,” Rothschild’s referential uses further

reinforce the distinctiveness of Hermès’ marks.

 V.    HERMÈS’ OTHER CLAIMS HAVE THE SAME FATAL FLAWS

       Rogers also bars all of Hermès’ other causes of action, whether denominated in terms of

infringement, dilution, “cybersquatting,” or otherwise. If using an image of the Birkin bag is




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  The statute therefore makes clear that use of “a mark or trade name” is not the core of dilution.
Even for purely commercial products, a local ice cream store that advertised its own “Oreo ice
cream” would not create a new meaning for Oreos; the meaning would remain linked to that of
Oreos.

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protected by the First Amendment when a claim is styled as a trademark cause of action, then

merely changing the label on the cause of action cannot be enough to circumvent the First

Amendment. As the Fourth Circuit has explained:

       Congress left little doubt that it did not intend for trademark laws to impinge the
       First Amendment rights of critics and commentators. … Congress directed that in
       determining whether an individual has engaged in cybersquatting, the courts may
       consider whether the person’s use of the mark is a “bona fide noncommercial or
       fair use.” 15 U.S.C. § 1125(d)(1)(B)(i)(IV). The legislature believed this provision
       necessary to “protect[ ] the rights of Internet users and the interests of all Americans
       in free speech and protected uses of trademarked names for such things as parody,
       comment, criticism, comparative advertising, news reporting, etc.”

Lamparello v. Falwell, 420 F.3d 309, 313-14 (4th Cir. 2005).

       Here, every one of Hermès’claims—federal trademark infringement, false designation of

origin and false descriptions and representations, federal trademark dilution, cybersquatting, state

dilution and injury to business reputation, common law trademark infringement, and state law

misappropriation and unfair competition—focuses on the same speech that is protected under

Rogers, which rejects the underlying premise of each claim that artistically relevant depictions of

trademarks can be wrongful in the absence of explicit falsity.

       For example, cybersquatting requires use of a domain name with a bad faith intent to

profit. 15 U.S.C. § 1125(d)(1)(A)(i). Rothschild’s use of a domain name that is the title of his art

project cannot be bad faith because that title is artistically relevant and not explicitly misleading.

When Rogers applies to insulate the title of artwork, it must also apply to bar Hermès’ claims

based on use of that title as a domain name for a site about the artwork. See Lamparello, 420

F.3d at 316 (“a court must evaluate an allegedly infringing domain name in conjunction with the

content of the website identified by the domain name”); id. at 316 n.4 (“[I]t has long been

established that even when alleged infringers use the very marks at issue in titles, courts look to




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the underlying content to determine whether the titles create a likelihood of confusion as to

source”) (citing, inter alia, Rogers, 875 F.2d at 1000-01).

       The same is true for other attempts by Hermès to relabel their claim here. See, e.g.,

Rogers v. Grimaldi, 695 F. Supp. 112, 117 (S.D.N.Y. 1988), aff’d, 875 F.2d 994 (2d Cir. 1989)

(noting that Rogers’ §1125(a) claim was styled false designation of origin); cf. Parks LLC v.

Tyson Foods, Inc., 863 F.3d 220, 227 (3d Cir. 2017) (rejecting false advertising claim that

“depend[ed] upon the purported false association between [defendant’s] brand and [plaintiff’s]

mark”); Jackson, 506 F. Supp. 3d at 1013 (applying Rogers to infringement, false designation,

and dilution claims); Ebony Media Operations, LLC v. Univision Commc’ns Inc., No. 18-cv-

11434-AKH, 2019 WL 8405265 (S.D.N.Y. June 3, 2019) (rejecting false advertising claim based

on allegedly misleading use of plaintiff’s trademark in news reporting).

                                          CONCLUSION

       For the foregoing reasons, Rothschild respectfully requests that the Court grant his

motion to dismiss Hermès’ complaint in its entirety with prejudice pursuant to Federal Rule of

Civil Procedure 12(b)(6) for failure to state a claim.




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Dated: February 9, 2022   Respectfully Submitted,

                          /s/ Rhett O. Millsaps II
                          Rebecca Tushnet
                          Rhett O. Millsaps II
                          Christopher J. Sprigman
                          LEX LUMINA PLLC
                          745 Fifth Avenue, Suite 500
                          New York, NY 10151
                          (646) 898-2055
                          rhett@lex-lumina.com

                          Attorneys for Defendant Mason Rothschild




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